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 7                                 UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
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10   Automated Pet Care Products, LLC d/b/a         Case No. 3:22-cv-04261-VC
     Whisker, a Michigan corporation,
11                                                  [PROPOSED] ORDER RE SETTING
                      Plaintiff,                    BRIEFING SCHEDULE FOR DEFENDANTS’
12                                                  MOTION TO DISMISS AND CASE
            v.                                      MANAGEMENT CONFERENCE
13
     PurLife Brands, Inc. d/b/a Smarty Pear, a
14   Delaware corporation, and Chris Madeiras, an
     individual,
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                      Defendants.
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                                                                         [PROPOSED] ORDER RE
                                                                        STIP. SETTING SCHEDULE
                                                                               3:22-CV-04261-VC
       Case 3:22-cv-04261-VC Document 31-1 Filed 10/18/22 Page 2 of 2



 1                                               ORDER
 2          PURSUANT TO THE STIPULATION, IT IS SO ORDERED.
 3          1.     Plaintiff’s brief in opposition to Defendant’s Motion to Dismiss the First Amended
 4   Complaint shall be due no later than November 3, 2022, with Defendants’ brief in support of their
 5   Motion due no later than November 17, 2022.
 6          2.     The initial Case Management Conference shall occur on December 14, 2022, with
 7   a Case Management Statement due by December 7, 2022.
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10   Dated: _________, 2022
                                                   Hon. Vince Chhabria
11                                                 United States District Judge
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                                                                                   [PROPOSED] ORDER RE
                                                    1                             STIP. SETTING SCHEDULE
                                                                                         3:22-CV-04261-VC
